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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                    District of Delaware
                                           (State)

Case number (If known): _________________________ Chapter 11                                                                                     Check if this is an
                                                                                                                                                 amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                      04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number
(if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available



1.   Debtor’s name                                   Transformation Tech Investors, Inc.


                                                     Interface Preferred Holdings, Inc.
2.   All other names debtor used
     in the last 8 years
     Include any assumed names, trade
     names, and doing business as names



3.   Debtor’s federal Employer
     Identification Number (EIN)                      8       2    –       2   0    9     6      6    7     7


4.   Debtor’s address                                Principal place of business                                    Mailing address, if different from principal place
                                                                                                                    of business


                                                     3773 Corporate Center Dr.
                                                     Number       Street                                            Number       Street




                                                     Earth City                         MO            63045
                                                     City                               State         Zip Code      City                         State         Zip Code

                                                                                                                    Location of principal assets, if different from
                                                                                                                    principal place of business

                                                     St. Louis
                                                     County
                                                                                                                    Number       Street




                                                                                                                    City                         State         Zip Code




5.   Debtor’s website (URL)                          https://interfacesystems.com/


6.   Type of debtor                                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                            Partnership (excluding LLP)
                                                            Other. Specify:




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                               Tech Investors, Inc.                         Doc 1       Filed 11/11/20            Page
                                                                                               Case number (if known ) 2 of 22
                Name




7.    Describe debtor’s business                 A. Check one:
                                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                     None of the above


                                                 B. Check all that apply:
                                                     Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                     Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                     Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                 C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                    http://www.uscourts.gov/four-digit-national-association-naics-codes.

                                                    5616


8.    Under which chapter of the                 Check one:
      Bankruptcy Code is the
      debtor filing?                                 Chapter 7
                                                     Chapter 9
                                                     Chapter 11. Check all that apply:
       A debtor who is a “small                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
       business debtor” must check                                      aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
       the first sub-box. A debtor as                                   are less than $2,725,625. If this sub-box is selected, attach the most recent balance
                                                                        sheet, statement of operations, cash-flow statement, and federal income tax return or if
       defined in § 1182(1) who
                                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
       elects to proceed under
       subchapter V of chapter 11                                       The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
       (whether or not the debtor is a                                  liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000,
                                                                        and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
       “small business debtor”) must                                    selected, attach the most recent balance sheet, statement of operations, cash-flow
       check the second sub-box.                                        statement, and federal income tax return, or if any of these documents do not exist,
                                                                        follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                        A plan is being filed with this petition.
                                                                        Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                        in accordance with 11 U.S.C. § 1126(b).
                                                                        The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                        Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                        Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                        Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                        The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                        12b-2.
                                                     Chapter 12


9.    Were prior bankruptcy cases                    No
      filed by or against the debtor                 Yes.   District                          When                            Case number
      within the last 8 years?                                                                        MM / DD / YYYY
      If more than 2 cases, attach a separate               District                          When                            Case number
      list.
                                                                                                      MM / DD / YYYY


10.   Are any bankruptcy cases                       No
      pending or being filed by a                    Yes.   Debtor                                                         Relationship
      business partner or an
      affiliate of the debtor?                              District                                                       When
                                                                                                                                          MM / DD / YYYY
      List all cases. If more than 1, attach a
      separate list.                                        Case number, if known


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Debtor        Transformation Case    20-12970-MFW
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              Name




11.   Why is the case filed in this   Check all that apply:
      district?                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.
                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have         No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal
      property that needs                         Why does the property need immediate attention? (Check all that apply.)
      immediate attention?                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?
                                                      It needs to be physically secured or protected from the weather.
                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).
                                                      Other


                                                  Where is the property?
                                                                              Number          Street




                                                                              City                                  State              ZIP Code


                                                  Is the property insured?
                                                      No
                                                      Yes. Insurance agency

                                                              Contact name

                                                              Phone


          Statistical and administrative information


13.   Debtor’s estimation of          Check one:
      available funds                     Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.


14.   Estimated number of                 1-49                                       1,000-5,000                          25,001-50,000
      creditors                           50-99                                      5,001-10,000                         50,001-100,000
                                          100-199                                    10,001-25,000                        More than 100,000
                                          200-999




15.   Estimated assets                    $0-$50,000                                 $1,000,001-$10 million               $500,000,001-$1 billion
                                          $50,001-$100,000                           $10,000,001-$50 million              $1,000,000,001-$10 billion
                                          $100,001-$500,000                          $50,000,001-$100 million             $10,000,000,001-$50 billion
                                          $500,001-$1 million                        $100,000,001-$500 million            More than $50 billion




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 Debtor         Transformation Tech Investors, Inc.                                          Case number (if known)
                Name




16.   Estimated liabilities                  $0-$50,000                           $1,000,001-$10 million              $500,000,001-$1 billion
                                             $50,001-$100,000                     $10,000,001-$50 million             $1,000,000,001-$10 billion
                                             $100,001-$500,000                    $50,000,001-$100 million            $10,000,000,001-$50 billion
                                             $500,001-$1 million                  $100,000,001-$500 million           More than $50 billion



                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
      of authorized
      representative of debtor I have been authorized to file this petition on behalf of the debtor.

                                      I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                      I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on        11/11/2020
                                                          MM / DD / YYYY



                                       /s/ Mark Pape                                              Mark Pape
                                                                                                   Printed name
                                             Signature of authorized representative of debtor

                                             Title   Director, Authorized Person




18.   Signature of attorney            /s/ Paul N. Heath                                        Date     11/11/2020
                                             Signature of attorney for debtor                           MM / DD / YYYY




                                      Paul N. Heath
                                      Printed name

                                      Richards, Layton & Finger, P.A.
                                      Firm name

                                      One Rodney Square, 920 North King Street
                                      Number         Street

                                      Wilmington                                                        Delaware                  19801
                                      City                                                              State                     ZIP Code

                                      (302) 651-7700                                                              heath@rlf.com
                                      Contact phone                                                               Email address



                                      3704                                                                                   Delaware
                                      Bar number                                                                             State




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                                    RESOLUTIONS ADOPTED BY WRITTEN CONSENT

                                     OF THE SPECIAL INDEPENDENT COMMITTEE

                                             OF THE BOARD OF DIRECTORS OF

                                       TRANSFORMATION TECH INVESTORS, INC.

                                                     November 9, 2020

                      The undersigned, constituting all of the members of the special independent committee (the
              “Committee”) of the board of directors (the “Board”), of Transformation Tech Investors, Inc.
              (f/k/a Interface Preferred Holdings, Inc.), a Delaware corporation (the “Company”), acting
              pursuant to and in accordance with Section 141(f) of the General Corporation Law of the State of
              Delaware, does hereby consent to, adopt, and approve by written consent in accordance with
              applicable law, the following resolutions and each and every action effected thereby:

                     WHEREAS, on September 9, 2020, the Board established the Committee and delegated to
              the Committee the full and exclusive power and authority of the Board, to the fullest extent
              permitted by law, to take any and all actions and to do or cause to be done any or all things that
              may appear to the Committee to be necessary or advisable with respect to a potential sale of the
              Company’s assets pursuant to section 363 of title 11 of the United States Code (the “Bankruptcy
              Code”) and any alternatives thereto, including evaluating proposals, negotiating on behalf of the
              Company, and approving the execution and delivery of any documents related thereto;

                      WHEREAS, the Committee has reviewed and had the opportunity to ask questions about
              the materials presented by members of the Company’s management and the legal and financial
              advisors of the Company regarding the liabilities and liquidity of the Company, the strategic
              alternatives available, and the impact of the foregoing on the Company’s business;

                      WHEREAS, the Committee has had the opportunity to consult with members of the
              Company’s management and the Company’s legal and financial advisors to fully consider each of
              the strategic alternatives available to the Company;

                    WHEREAS, the Committee has considered presentations by members of the Company’s
              management and the financial and legal advisors of the Company regarding a restructuring support
              agreement in form and substance substantially as proposed (the “Restructuring Support
              Agreement”);

                      WHEREAS, the Company has negotiated the Restructuring Support Agreement in good
              faith and at arm’s-length with the other parties thereto;

                     WHEREAS, the Restructuring Support Agreement provides that the Company with a right
              to terminate that agreement if continued performance thereunder would be inconsistent with the
              exercise of the Company’s fiduciary duties or applicable law;



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                     WHEREAS, the Committee, after consulting with members of the Company’s
              management and the Company’s financial and legal advisors, believes that entering into the
              proposed debtor in possession financing facility, pursuant to the Term Note Agreement (the “DIP
              Note Agreement”) for a $5,000,000 first lien senior secured note facility (the “DIP Facility”),
              and consummating the transactions contemplated thereby, is advisable and in the best interests of
              the Company and all of its residual claimants;

                      WHEREAS, the Committee, after consulting with members of the Company’s
              management and the Company’s financial and legal advisors, believes that the offer for the
              purchase of the Company’s membership interests (the “Membership Interests”) in its subsidiary,
              Interface Security Systems, L.L.C., pursuant to that certain Purchase and Sale Agreement (the
              “Stalking Horse Agreement”) between the Company and the Purchaser (as defined therein), is
              the best offer the Company has received to maximize the value of its assets, and entry into the
              Stalking Horse Agreement, subject to higher and better offers in connection with the Company’s
              commencement of a voluntary case under chapter 11 of the Bankruptcy Code (the “Chapter 11
              Case”), is advisable and in the best interests of the Company and all of its residual claimants; and

                      WHEREAS, the Committee has determined that taking the actions set forth below is
              advisable and in the best interests of the Company and all of its residual claimants and, therefore,
              desires to approve the following resolutions.

                      NOW, THEREFORE, BE IT RESOLVED, that Mark Pape, acting individually, in his
              capacity as a director of the Company, as the sole member of the Committee, as an authorized
              person of the Company or in any other capacity (the “Authorized Person”), is authorized,
              empowered, and directed to execute and file in the name and on behalf of the Committee and the
              Company, and under the Company’s corporate seal or otherwise, all plans, petitions, schedules,
              statements, motions, lists, applications, pleadings, orders, and other documents in the Chapter 11
              Case in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
              Court”) related to the actions set forth below, and, in connection therewith, to take and perform
              any and all further acts and deeds which the Authorized Person deems necessary, proper, or
              desirable in connection therewith, including (i) negotiating, executing, delivering, and performing
              any and all documents, agreements, certificates, and instruments in connection with the
              transactions and professional retentions set forth in this resolution, (ii) appearing as necessary at
              all bankruptcy proceedings in the Bankruptcy Court on behalf of the Company and (iii) paying all
              such expenses where necessary or appropriate in order to carry out fully the intent and accomplish
              the purposes of the resolutions adopted herein;

              I.       DIP Financing

                      RESOLVED, that the DIP Note Agreement and the transactions contemplated thereby are
              hereby approved, and the Authorized Person shall be, and hereby is, authorized, empowered and
              directed on behalf of and in the name of the Company, to enter into the DIP Note Agreement and
              take all actions necessary and appropriate for the Company to obtain post-petition financing
              according to the terms negotiated by the Authorized Person under the DIP Facility, including
              entering into other documents evidencing the DIP Facility, including any loan agreements,

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              documents, notes, guaranties, security agreements, pledge agreements and all other documents,
              agreements or instruments related thereto (collectively, the “DIP Credit Documents”), and
              making changes to the DIP Note Agreement, as may be deemed necessary or appropriate by the
              Authorized Person (such approval to be conclusively evidenced by the execution thereof or taking
              of such action by the Authorized Person); and

                      RESOLVED FURTHER, that the Company is authorized, and the Authorized Person shall
              be, and hereby is, authorized and empowered, with full power of delegation, on behalf of and in
              the name of the Company, to execute, deliver, verify and/or file, or cause to be filed and/or
              executed, delivered or verified (or direct others to do so on their behalf as provided herein), and to
              amend, supplement or otherwise modify from time to time, all necessary and appropriate
              documents, including, without limitation, petitions, affidavits, schedules, motions, lists,
              applications, pleadings and other documents, agreements and papers, including all DIP Credit
              Documents, and to take any and all actions that the Authorized Person deems advisable, necessary
              or appropriate in connection with the Chapter 11 Case, any post-petition financing or any cash
              collateral usage contemplated hereby or thereby (such approval to be conclusively evidenced by
              the execution thereof or taking of such action by the Authorized Person);

              II.      Restructuring Support Agreement and Potential Sale Transaction

                      RESOLVED, that the Committee has determined, after due consultation with members of
              the Company’s management and the Company’s legal and financial advisors, that it is advisable
              and in the best interests of the Company and all of its residual claimants, including its creditors
              and other parties in interest to enter into the Restructuring Support Agreement, and that the form,
              terms and provisions of the Restructuring Support Agreement, the Company’s performance of its
              obligations under the Restructuring Support Agreement, and the consummation of the transactions
              contemplated thereby, be and hereby is, in all respects, authorized and approved;

                     RESOLVED FURTHER, that the Company is hereby authorized, and the Authorized
              Person shall be, and hereby is, authorized, empowered and directed on behalf of and in the name
              of the Company, in consultation with the Company’s advisors, to take all actions (including,
              without limitation, to negotiate and execute any agreements, documents, or certificates) necessary
              to enter into the Restructuring Support Agreement and to consummate the transactions
              contemplated thereby in connection with the Chapter 11 Case, and that the Company’s
              performance of its obligations under the Restructuring Support Agreement hereby is, in all
              respects, authorized and approved;

                      RESOLVED FURTHER, that the Company is hereby authorized, and the Authorized
              Person shall be, and hereby is, authorized, directed and empowered, on behalf of and in the name
              of the Company, to file a motion with the Bankruptcy Court seeking (i) approval of bidding
              procedures to be used to facilitate a potential sale of the Membership Interests pursuant to Section
              363 of the Bankruptcy Code (the “Potential Sale Transaction”) and (ii) approval of the
              Company’s entry into the Stalking Horse Agreement with the Purchaser, as a stalking horse bidder,
              subject to higher and better offers and Bankruptcy Court approval;


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                      RESOLVED FURTHER, that the Authorized Person be, and hereby is, authorized, directed
              and empowered on behalf of, and in the name of, the Company, to conduct a marketing process to
              identify possible purchasers for the Potential Sale Transaction under the supervision of the
              Bankruptcy Court;

                      RESOLVED FURTHER, that the Stalking Horse Agreement and the tranactions
              contemplated thereby, are hereby approved, and the Authorized Person shall be, and hereby is,
              authorized, empowered and directed on behalf of and in the name of the Company, to enter into
              the Stalking Horse Agreement and take all actions necessary and appropriate for the Company in
              connection with the Stalking Horse Agreement and make such changes to the Stalking Horse
              Agreement as may be deemed necessary or appropriate by the Authorized Person (such approval
              to be conclusively evidenced by the execution thereof or taking of such action by the Authorized
              Person); and

                      RESOLVED FURTHER, that the Authorized Person be, hereby is, authorized, directed
              and empowered on behalf of, and in the name of, the Company, to (a) take actions and negotiate,
              or cause to be prepared and negotiated, and subject to Bankruptcy Court approval as required, to
              execute, deliver, perform and cause the performance of any agreements (including the Stalking
              Horse Agreement and any other asset purchase agreements), certificates, instruments, receipts,
              petitions, motions or other papers or documents in furtherance of, and necessary to effectuate, any
              Potential Sale Transaction to which the Company is or will be a party and (b) request the
              Bankruptcy Court to approve any Potential Sale Transaction (including a sale of the Company’s
              assets to the highest bidder) and for any related relief;

              III.     General Authorization and Ratification

                      RESOLVED, that the Authorized Person be, and hereby is, authorized, empowered and
              directed, for and on behalf of the Company to (a) do and perform all such acts and things and enter
              into, execute, acknowledge, deliver, and file all such certificates, agreements, acknowledgments,
              instruments, contracts, statements, and other documents and to take such further actions as the
              Authorized Person may deem necessary or appropriate to effect the intent and accomplish the
              purposes of the foregoing resolutions, with the taking of any such action by the Authorized Person
              being conclusive evidence that the same did meet such standards as set forth above, (b) perform
              the obligations of the Company under the Bankruptcy Code, with all such actions to be performed
              in such manner, and all such certificates, instruments, guaranties, notices and documents to be
              executed and delivered in such form, as the Authorized Person performing or executing the same
              shall approve, and the performance or execution thereof by the Authorized Person shall be
              conclusive evidence of the approval thereof by the Authorized Person, the Committee and by the
              Company and (c) pay fees and expenses in connection with the transactions contemplated by the
              foregoing resolutions; and

                      RESOLVED FURTHER, that any and all actions taken by the Authorized Person prior to
              the date of adoption of the foregoing resolutions, which would have been authorized by the
              foregoing resolutions but for the fact that such actions were taken prior to such date, be, and each
              hereby is, ratified, approved, confirmed, and adopted as a duly authorized act of the Company in
              all respects and for all purposes.
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                      IN WITNESS WHEREOF, the undersigned has executed this Action by Written Consent
            as of the date first set forth above.


                                                      Name: Mark Pape
                                                      Date: November 9, 2020




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                                    RESOLUTIONS ADOPTED BY WRITTEN CONSENT

                                             OF THE BOARD OF DIRECTORS OF

                                        TRANSFORMATION TECH INVESTORS, INC.

                                                            November 9, 2020

                     The undersigned, constituting all of the members of the board of directors (the “Board”),
             of Transformation Tech Investors, Inc. (f/k/a Interface Preferred Holdings, Inc.), a Delaware
             corporation (the “Company”), acting pursuant to and in accordance with Section 141(f) of the
             General Corporation Law of the State of Delaware, does hereby consent to, adopt, and approve by
             written consent in accordance with applicable law, the following resolutions and each and every
             action effected thereby:

                     WHEREAS, on September 9, 2020, the Board established a special independent committee
             (the “Committee”) of the Board and delegated to the Committee the full and exclusive power and
             authority of the Board, to the fullest extent permitted by law, to take any and all actions and to do
             or cause to be done any or all things that may appear to the Committee to be necessary or advisable
             with respect to a potential sale of the Company’s assets pursuant to section 363 of title 11 of the
             United States Code (the “Bankruptcy Code”) and any alternatives thereto (the “Potential
             Transactions”), including evaluating proposals, negotiating on behalf of the Company, and
             approving the execution and delivery of any documents related thereto;

                    WHEREAS, the Committee has determined that certain Potential Transactions are
             advisable and in the best interests of the Company and all of its residual claimants;

                    WHEREAS, the Committee has approved the Company’s entry into documentation for
             Potential Transactions that contemplate the Company’s commencement of a voluntary case under
             chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”) to effect those Potential Transactions;

                     WHEREAS, the Board has reviewed and had the opportunity to ask questions about the
             materials presented by the members of the Company’s management and the legal and financial
             advisors of the Company regarding the liabilities and liquidity of the Company, the strategic
             alternatives available, and the impact of the foregoing on the Company’s business;

                     WHEREAS, the Board has had the opportunity to consult with members of the Company’s
             management and the legal and financial advisors of the Company to fully consider each of the
             strategic alternatives available to the Company;

                    WHEREAS, the Board has received, reviewed and considered the recommendations of,
             and the materials presented by, the management of the Company and the Company’s legal and
             financial advisors as to the relative risks and benefits of pursuing a Chapter 11 Case; and




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                     WHEREAS, the Board believes that taking each of the actions set forth below is advisable
             and in the best interests of the Company and all of its residual claimants and, therefore, desires to
             approve the following resolutions.

             I.       Commencement of Chapter 11 Case

                     NOW, THEREFORE, BE IT RESOLVED, that the Board has determined, after due
             consultation with members of the Company’s the management and the legal and financial advisors
             of the Company, that it is advisable and in the best interests of the Company and all of its residual
             claimants, including its creditors and other parties in interest, that the Company shall be, and
             hereby is, authorized to file, or cause to be filed, a petition seeking relief under the provisions of
             chapter 11 of the Bankruptcy Code to commence the Chapter 11 Case and any other order that
             may be desirable under applicable law;

                     RESOLVED FURTHER, that Mark Pape, acting individually, in his capacity as a director
             of the Company, as the sole member of the Special Independent Committee of the Board, as an
             authorized person of the Company or in any other capacity, and any officer of the Company, in
             their capacity as such (each, an “Authorized Person”), is authorized, empowered, and directed to
             execute and file in the name and on behalf of the Company, and under its corporate seal or
             otherwise, all plans, petitions, schedules, statements, motions, lists, applications, pleadings, orders,
             and other documents in the United States Bankruptcy Court for the District of Delaware (the
             “Bankruptcy Court”), and, in connection therewith, to take and perform any and all further acts
             and deeds which the Authorized Person deems necessary, proper, or desirable in connection with
             the Company’s Chapter 11 Case, including (i) negotiating, executing, delivering, and performing
             any and all documents, agreements, certificates, and instruments in connection with the
             transactions and professional retentions set forth in this resolution, (ii) appearing as necessary at
             all bankruptcy proceedings in the Bankruptcy Court on behalf of the Company and (iii) paying all
             such expenses where necessary or appropriate in order to carry out fully the intent and accomplish
             the purposes of the resolutions adopted herein;

             II.      Retention of Advisors

                     RESOLVED, that the Company shall be, and hereby is, authorized, empowered and
             directed on behalf of and in the name of the Company to retain the law firm of Richards, Layton
             & Finger, P.A., located at 920 N King St, Wilmington, DE 19801, as counsel for the Company in
             the Chapter 11 Case, subject to Bankruptcy Court approval;

                    RESOLVED FURTHER, that the Company shall be, and hereby is, authorized, empowered
             and directed on behalf of and in the name of the Company to retain Imperial Capital, LLC, located
             at 10100 Santa Monica Boulevard, Suite 2400, Los Angeles, CA 90067, as financial advisor for
             the Company in the Chapter 11 Case, subject to Bankruptcy Court approval;

                    RESOLVED FURTHER, that the Company shall be, and hereby is, authorized, empowered
             and directed on behalf of and in the name of the Company to retain Reliable Companies d/b/a
             Reliable, located at Nemours Building, 1007 Orange Street, Suite 110, Wilmington, DE 19801, as

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             claims and noticing agent and administrative advisor for the Company in the Chapter 11 Case,
             subject to Bankruptcy Court approval;

             III.     General Authorization and Ratification

                     RESOLVED, that each Authorized Person be, and hereby is, authorized, empowered and
             directed, for and on behalf of the Company to (a) do and perform all such acts and things and enter
             into, execute, acknowledge, deliver, and file all such certificates, agreements, acknowledgments,
             instruments, contracts, statements, and other documents and to take such further actions as the
             Authorized Person may deem necessary or appropriate to effect the intent and accomplish the
             purposes of the foregoing resolutions, with the taking of any such action by the Authorized Person
             being conclusive evidence that the same did meet such standards as set forth above, (b) perform
             the obligations of the Company under the Bankruptcy Code, with all such actions to be performed
             in such manner, and all such certificates, instruments, guaranties, notices and documents to be
             executed and delivered in such form, as the Authorized Person performing or executing the same
             shall approve, and the performance or execution thereof by the Authorized Person shall be
             conclusive evidence of the approval thereof by the Authorized Person, the Board and by the
             Company and (c) pay fees and expenses in connection with the transactions contemplated by the
             foregoing resolutions; and

                     RESOLVED FURTHER, that any and all actions taken by each Authorized Person prior
             to the date of adoption of the foregoing resolutions, which would have been authorized by the
             foregoing resolutions but for the fact that such actions were taken prior to such date, be, and each
             hereby is, ratified, approved, confirmed, and adopted as a duly authorized act of the Company in
             all respects and for all purposes.


                          [The rest of this page is left blank intentionally; the signature page follows.]




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                     IN WITNESS WHEREOF, each of the undersigned has executed this Action by Written
            Consent as of the date set forth below.


                                                               Name: Michael T. Shaw
                                                               Date: November 9, 2020



                                                               Name: Mark Pape
                                                               Date: November 9, 2020



                                                               Name: Ned N. Fleming, III
                                                               Date: November 9, 2020



                                                               Name: Craig J. Jennings
                                                               Date: November 9, 2020



                                                               Name: Robert Derrick
                                                               Date: November 9, 2020



                                                               Name: Matthew Harvey
                                                               Date: November 9, 2020




                                                                   4

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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       : Chapter 11
                                                             :
TRANSFORMATION TECH                                          : Case No. 20–________ (   )
INVESTORS, INC.,                                             :
                                                             :
                  Debtor.                                    :
------------------------------------------------------------ x
                           STATEMENT OF CORPORATE OWNERSHIP

         The following is the list of entities that directly or indirectly own 10% or more of any

class of the above-captioned debtor’s equity interests. This list has been prepared in accordance

with Fed. R. Bankr. P. 1007(a)(1) and Fed. R. Bankr. P. 7007.1 for filing in this chapter 11 case.

         1.        Interface Special Holdings, Inc. owns 100% of the common stock in

Transformation Tech Investors, Inc.

         2.        The following entities own 10% or more of the series A preferred stock of

Transformation Tech Investors, Inc.:

                   a.    Prudential Capital Partners V. L.P. – 36.95%

                   b.    Terman Investment PTE Ltd. – 19.44%

                   c.    Prudential Capital Partners (Parallel Fund) V, L.P. – 15.78%

                   d.    Teachers Insurance and Annuity Association of America – 12.50%

         3.        Interface Security Systems Holdings, Inc. owns 100% of the common stock in

Interface Special Holdings, Inc.

         4.        Interface Master Holdings, Inc. owns 100% of the common stock in Interface

Security Systems Holdings, Inc.




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         5.        Interface Grand Master Holdings, Inc. owns 100% of the common stock in

Interface Master Holdings, Inc.




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       :    Chapter 11
                                                             :
TRANSFORMATION TECH                                          :    Case No. 20–________ (        )
INVESTORS, INC.,                                             :
                                                             :
                  Debtor.                                    :
------------------------------------------------------------ x
                              LIST OF EQUITY SECURITY HOLDERS

         The following is a list of the above-captioned debtor’s equity security holders. This list

has been prepared in accordance with Fed. R. Bankr. P. 1007(a)(3) for filing in this chapter 11

case.

                                                   Mailing Address             Percentage of
                    Holder Name
                                                     of Holder                 Interests Held
                                               3773 Corporate Center
                   Interface Special                                        100% Common
                                                         Dr.,
                    Holdings, Inc.                                              Stock
                                               Earth City, MO 63045
                                                c/o Prudential Capital
                                                        Group
                   Prudential Capital           Two Prudential Plaza        36.95% Preferred
                    Partners V. L.P.           180 N. Stetson Avenue             Stock
                                                      Suite 5600
                                                  Chicago, IL 60601
                                                   c/o GIC Special
                                                Investments PTE Ltd.
                                              280 Park Avenue, Floor 9
                                               New York, NY 10017

              Terman Investment PTE                        and              19.44% Preferred
                       Ltd.                                                      Stock
                                                   c/o GIC Special
                                                Investments PTE Ltd.
                                                     York House
                                                  45 Seymour Street
                                               London W1H 7LX, UK
                Prudential Capital              c/o Prudential Capital
                                                                            15.78% Preferred
              Partners (Parallel Fund)                  Group
                                                                                 Stock
                      V, L.P.                   Two Prudential Plaza


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                                            Mailing Address          Percentage of
                      Holder Name
                                              of Holder              Interests Held
                                         180 N. Stetson Avenue
                                                 Suite 5600
                                            Chicago, IL 60601
              Teachers Insurance and     8500 Andrew Carnegie
                                                                    12.50% Preferred
              Annuity Association of             Boulevard
                                                                         Stock
                    America                Charlotte, NC 28262
                                            c/o Ottawa Avenue
                                         Private Capital, LLC, an
                                              affiliate of RDV
                     PCP ISS Group              Corporation         4.44% Preferred
                     Investors, LLC       126 Ottawa Ave. NW            Stock
                                                  Suite 500
                                         Grand Rapids, Michigan
                                                    49503
                                          c/o Prudential Capital
                                                    Group
                    Prudential Capital
                                          Two Prudential Plaza      2.82% Preferred
                   Partners Management
                                         180 N. Stetson Avenue          Stock
                       Fund V, L.P.
                                                 Suite 5600
                                            Chicago, IL 60601
                                            c/o Ottawa Avenue
                                         Private Capital, LLC, an
                                              affiliate of RDV
               Dick and Betsy Devos             Corporation         2.01% Preferred
                Family Foundation         126 Ottawa Ave. NW            Stock
                                                  Suite 500
                                         Grand Rapids, Michigan
                                                    49503
                                            c/o Ottawa Avenue
                                         Private Capital, LLC, an
                                              affiliate of RDV
               Doug and Maria Devos             Corporation         2.96% Preferred
                    Foundation            126 Ottawa Ave. NW            Stock
                                                  Suite 500
                                         Grand Rapids, Michigan
                                                    49503
                                            c/o Ottawa Avenue
                                         Private Capital, LLC, an
                                              affiliate of RDV
                                                                    2.01% Preferred
                    CDV5 Foundation             Corporation
                                                                        Stock
                                          126 Ottawa Ave. NW
                                                  Suite 500
                                         Grand Rapids, Michigan


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                                            Mailing Address          Percentage of
                      Holder Name
                                              of Holder              Interests Held
                                                  49503

                                            c/o Ottawa Avenue
                                         Private Capital, LLC, an
                                              affiliate of RDV
                     Jerry and Marcia           Corporation         0.99% Preferred
                   Tubergen Foundation    126 Ottawa Ave. NW            Stock
                                                  Suite 500
                                         Grand Rapids, Michigan
                                                    49503




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Fill in this information to identify the case and this filing:


Debtor Name Transformation Tech Investors, Inc.

United States Bankruptcy Court for the: District of Delaware
                                                     (State)

Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules
1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                         Declaration and signature

                     I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
                     individual serving as a representative of the debtor in this case.

                     I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                     ☐           Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                     ☐           Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                     ☐           Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                     ☐           Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                     ☐           Schedule H: Codebtors (Official Form 206H)


                     ☐           Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                     ☐           Amended Schedule


                     ☐           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form
                                 204)


                     ☒          Other document that requires a declaration Statement of Corporate Ownership and List of Equity Security Holders


I declare under penalty of perjury that the foregoing is true and correct.

Executed on       11/11/2020
                 MM / DD / YYYY                                      /s/ Mark Pape
                                                                     Signature of individual signing on behalf of debtor

                                                                     Mark Pape
                                                                     Printed name

                                                                     Director, Authorized Person
                                                                     Position or relationship to debtor




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       Debtor Name Transformation Tech Investors, Inc.

       United States Bankruptcy Court for the: District of Delaware
                                                         (State)

       Case number (If known):
                                                                                                          Check if this is an amended filing




       Official Form 204

       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims
       and Are Not Insiders                                                                12/15
       A list of creditors holding the twenty (20) largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
       which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also,
       do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
       creditor among the holders of the twenty (20) largest unsecured claims.

Name of creditor and complete              Name, telephone number, and                Nature of      Indicate if     Amount of unsecured claim
mailing address, including zip code        email address of creditor contact          the claim      claim is        If the claim is fully unsecured, fill in only
                                                                                      (for           contingent,     unsecured claim amount. If claim is
                                                                                      example,       unliquidated    partially secured, fill in total claim
                                                                                      trade debts,   , or disputed   amount and deduction for value of
                                                                                      bank loans,                    collateral or setoff to calculate
                                                                                      professional                   unsecured claim.
                                                                                      services,                                    Deductio
                                                                                                                        Total
                                                                                      and                                             n for
                                                                                                                      claim, if                     Unsecured
                                                                                      government                                    value of
                                                                                                                      partially                         claim
                                                                                      contracts)                                   collateral
                                                                                                                      secured
                                                                                                                                   or setoff
    Terman Investment PTE Ltd.
    c/o GIC Special Investments PTE Ltd.
    280 Park Avenue, Floor 9             Geraldine Lor
    New York, NY 10017                   (212) 856-2567
                                         geraldinelor@gic.com.sg
1
    and
                                         and                                             Note        Contingent                                 $19,444,444.44
    c/o GIC Special Investments PTE Ltd.
    York House                           Liu Rui
    45 Seymour Street                    (+44) 207-7253883
    LONDON                               liurui@gic.com.sg
    W1H 7LX
    UK
                                         Jason Strife
                                         (704) 988-6571
                                         jason.strife@tiaainvestments.com
    Teachers Insurance and Annuity
2   Association of America
                                         and                                             Note        Contingent                                 $12,500,000.00
    8500 Andrew Carnegie Boulevard
    Charlotte, NC 28262
                                         Derek Fricke
                                         (704) 988-3608
                                         Derek.fricke@tiaainvestments.com
    PCP ISS Group Investors, LLC
3
    c/o Ottawa Avenue Private Capital,   Randall Damstra
    LLC, an affiliate of RDV Corporation (616) 454-4114                                  Note        Contingent                                   $4,441,594.74
    126 Ottawa Ave. NW, Suite 500        investmentgroup@rdvcorp.com
    Grand Rapids, MI 49503
    Doug and Maria Devos Foundation
4
    c/o Ottawa Avenue Private Capital,   Randall Damstra
    LLC, an affiliate of RDV Corporation (616) 454-4114                                  Note        Contingent                                   $2,960,230.50
    126 Ottawa Ave. NW, Suite 500        investmentgroup@rdvcorp.com
    Grand Rapids, MI 49503




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Name of creditor and complete               Name, telephone number, and              Nature of      Indicate if     Amount of unsecured claim
mailing address, including zip code         email address of creditor contact        the claim      claim is        If the claim is fully unsecured, fill in only
                                                                                     (for           contingent,     unsecured claim amount. If claim is
                                                                                     example,       unliquidated    partially secured, fill in total claim
                                                                                     trade debts,   , or disputed   amount and deduction for value of
                                                                                     bank loans,                    collateral or setoff to calculate
                                                                                     professional                   unsecured claim.
                                                                                     services,                                    Deductio
                                                                                                                       Total
                                                                                     and                                             n for
                                                                                                                     claim, if                     Unsecured
                                                                                     government                                    value of
                                                                                                                     partially                         claim
                                                                                     contracts)                                   collateral
                                                                                                                     secured
                                                                                                                                  or setoff
     Dick and Betsy Devos Family
     Foundation
                                            Randall Damstra
5    c/o Ottawa Avenue Private Capital,
                                            (616) 454-4114                              Note        Contingent                                   $2,055,715.63
     LLC, an affiliate of RDV Corporation
                                            investmentgroup@rdvcorp.com
     126 Ottawa Ave. NW, Suite 500
     Grand Rapids, MI 49503
     CDV5 Foundation
6
     c/o Ottawa Avenue Private Capital,     Randall Damstra
     LLC, an affiliate of RDV Corporation   (616) 454-4114                              Note        Contingent                                   $2,055,715.63
     126 Ottawa Ave. NW, Suite 500          investmentgroup@rdvcorp.com
     Grand Rapids, MI 49503
     Jerry and Marcia Tubergen
     Foundation
                                            Randall Damstra
7    c/o Ottawa Avenue Private Capital,
                                            (616) 454-4114                              Note        Contingent                                     $986,743.50
     LLC, an affiliate of RDV Corporation
                                            investmentgroup@rdvcorp.com
     126 Ottawa Ave. NW, Suite 500
     Grand Rapids, MI 49503

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Fill in this information to identify the case and this filing:


Debtor Name Transformation Tech Investors, Inc.

United States Bankruptcy Court for the: District of Delaware
                                                     (State)

Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                            Declaration and signature

                       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
                       partnership; or another individual serving as a representative of the debtor in this case.

                       I have examined the information in the documents checked below and I have a reasonable belief that the information
                       is true and correct:

                       ☐           Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                       ☐           Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                       ☐           Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                       ☐           Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                       ☐           Schedule H: Codebtors (Official Form 206H)


                       ☐           Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                       ☐           Amended Schedule


                       ☒           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not
                                   Insiders (Official Form 204)


                       ☐           Other document that requires a declaration


I declare under penalty of perjury that the foregoing is true and correct.

Executed on       11/11/2020
                                                                       
                 MM / DD / YYYY                                        /s/ Mark Pape
                                                                       Signature of individual signing on behalf of debtor

                                                                       Mark Pape
                                                                       Printed name

                                                                       Director, Authorized Person
                                                                       Position or relationship to debtor




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